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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Charnae Jones,

                        Plaintiff,

v.                                     Case No. 1:22-cv-5134-MLB

Provista Diagnostics, Inc., et al.,

                        Defendants.

________________________________/

                                 ORDER

     Before the Court is the parties’ Stipulation of Dismissal Without

Prejudice of Defendant Daniel Hirsch (Dkt. 22).       The Court’s Notice

regarding FLSA Cases requires the parties to file a joint motion for

approval of a settlement agreement, attaching the settlement agreement

to the motion. (Dkt. 5.) The parties’ stipulation of dismissal does not

comply with the Court’s Notice regarding FLSA Cases. If all parties

agree to the dismissal of Defendant Hirsch, they must file a motion that

complies with the Court’s Notice regarding FLSA Cases.

     Accordingly, the Court STRIKES the parties’ stipulation of

dismissal (Dkt. 22).
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SO ORDERED this 2nd day of August, 2023.




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